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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLORADO




      UNITED STATES OF AMERICA
                                                                        20-CR-00305-DDD
                                       Plaintiff,
                                                                    PROPOSED ORDER
                                  v.                            CONTINUING TRIAL UNDER
                                                                   18 U. S. C. § 3161(h)(7)

      MICHAEL AARON TEW,                                       [PROPOSED] TRIAL DATE:
      KIMBERLEY ANN TEW, and                                   10/18/2021
      JONATHAN K. YIOULOS
                                                               [PROPOSED] PRE-TRIAL
                          Defendants.                          CONFERENCE DATE: 10/11/2021




        The Court has read and considered the Motion Regarding the Unopposed Request for A

 180-Day Ends Of Justice Continuance Under 18 U. S. C. § 3161(h)(7), filed by Defendants Mr.

 and Mrs. Tew in this matter on March 11, 2021. The Court hereby finds that the Motion, which

 this Court incorporates by reference into this Order, demonstrates facts that support a

 continuance of the trial date in this matter, and provides good cause for a finding of excludable

 time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.

        The Court further finds that: (i) the ends of justice served by the continuance outweigh

 the best interest of the public and defendant in a speedy trial; (ii) failure to grant the continuance

 would be likely to make a continuation of the proceeding impossible, or result in a miscarriage of

 justice; and (iii) failure to grant the continuance would unreasonably deny defendant continuity

 of counsel and would deny defense counsel the reasonable time necessary for effective

 preparation, taking into account the exercise of due diligence.


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        THEREFORE, FOR GOOD CAUSE SHOWN:

        1. The trial in this matter is continued from April 19, 2021 to October 18, 2021. The pre-

 trial conference date/last date to hear motions is October 11, 2021.

        2. The time period of from April 19, 2021 to October 18, 2021, inclusive, is excluded in

 computing the time within which the trial must commence, pursuant to 18 U.S.C. §§

 3161(h)(7)(A), (h)(7)(B)(i), (h)(7)(B)(ii), and (B)(iv).

        3. Defendant shall appear in Courtroom A 702 of the Alfred A. Arraj United States

 Courthouse, 901 19th Street, Denver, CO 80294; and on October 18, 2021 at 9:00 a.m.

        4. Nothing in this Order shall preclude a finding that other provisions of the Speedy Trial

 Act dictate that additional time periods are excluded from the period within which trial must

 commence. Moreover, the same provisions and/or other provisions of the Speedy Trial Act may

 in the future authorize the exclusion of additional time periods from the period within which trial

 must commence.

        IT IS SO ORDERED.



 ___________________________                    _______________________________________
 DATE                                           THE HONORABLE DANIEL D. DOMENICO
                                                UNITED STATES DISTRICT COURT JUDGE




 Presented by:

        /s/
 ______________________
 Tor Ekeland
 Attorney for Defendants Michael Tew and Kimberley Tew




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